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 9                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
10                                  AT SAN FRANCISCO

11   AMERICAN FEDERATION OF                            NO. 3:25-cv-01780-WHA
     GOVERNMENT EMPLOYEES, AFL-CIO,
12   et al.,                                           PLAINTIFF STATE OF
                                                       WASHINGTON’S UNOPPOSED
13                            Plaintiffs,              ADMINISTRATIVE MOTION FOR
                                                       3-HOUR EXTENSION AND
14      v.                                             INCREASED PAGE LIMITS RE:
                                                       PRELIMINARY INJUNCTION
15   UNITED STATES OFFICE OF                           BRIEFING
     PERSONNEL MANAGEMENT, et al.,
16                                                     Honorable William H. Alsup
                              Defendants.
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 1          Pursuant to Civil Local Rules 6-1, 7-4(b), and 7-11, Plaintiff State of Washington (State)

 2   hereby moves unopposed for (1) a three-hour extension to its deadline to file, on April 3, 2025,

 3   its reply in support of its Motion for Preliminary Injunction such that the State’s reply would be

 4   due at 3pm PDT; and (2) a five-page increase in the page limit of the State’s reply in support of

 5   its Motion for Preliminary Injunction, such that their reply brief could be up to 20 pages. The

 6   State did not oppose, and the Court granted, Defendants’ similar request for a three-hour

 7   extension, and five-page increase in the page limit of its opposition to the State’s Motion for

 8   Preliminary Injunction. See Dkt. Nos. 165, 165-1, 166.

 9          1.      The Court ordered the State to file any preliminary injunction reply by April 3,

10   2025, at noon PDT. See Dkt. No. 152. The State has been diligently preparing its reply since

11   Defendants’ opposition was filed on March 31, 2025. See Dkt. No. 167. Due to the need to

12   coordinate with other Plaintiffs on several briefs due this week in this matter, the State

13   respectfully requests three additional hours to submit its reply, such that the reply would be due

14   at 3pm PDT on April 3, 2025.

15          2.      In preparing its reply in support of its Motion for Preliminary Injunction, the State

16   has determined that it needs an additional five pages beyond the 15-page limit set by Civil Local

17   Rule 7-4(b) to sufficiently brief the issues presented, such that the brief could be up to 20 pages

18   in length. This Court’s Local Civil Rules allow a party to file a brief in excess of the Court’s

19   page limitations if requested by administrative motion prior to the due date. See Civil Local

20   Rules 7-4(b), 7-11.

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 1          3.      The State contacted Defendants’ counsel to obtain Defendants’ position on the

 2   relief requested herein. See Decl. of Cynthia L. Alexander ¶¶ 3–4. Defendants’ counsel

 3   responded that Defendants do not object to the relief requested herein. Id.

 4          For good cause shown above, the State respectfully requests that the Court grant a

 5   three-hour extension to the April 3, 2025, filing deadline and allow the State to file a reply brief

 6   in support of its Motion for Preliminary Injunction up to 20 pages in length.

 7          DATED this 2nd day of April 2025.

 8                                                  NICHOLAS W. BROWN
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